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                            10   Attorneys for Non-Party Jounalist
                                 William Meagher
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                            11

                            12                               UNITED STATES DISTRICT COURT
                            13                            NORTHERN DISTRICT OF CALIFORNIA
                            14                                       SAN FRANCISCO DIVISION
                            15

                            16   John J. Hurry and Justine Hurry, as husband and    Case No. 3:17-mc-80026-LB
                                 wife; Investment Services Corporation, an
                            17   Arizona Corporation, BRICFM LLC d/b/a/             (D. Ariz. No. 14-cv-04420-NC)
                                 Corner of Paradise Ice Cream Store, a California
                            18   Limited Liability Company,                         PROOF OF SERVICE
                            19                         Plaintiffs,
                            20          vs.
                            21   Financial Industry Regulatory Authority, Inc.,
                            22                         Defendant.
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                                 PROOF OF SERVICE
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                                                                      PROOF OF SERVICE
                             1
                                        I am employed in the City and County of San Francisco, State of California, in the office
                             2
                                 of a member of the bar of this court, at whose direction the service was made. I am over the age of
                             3   eighteen (18) years, and not a party to or interested in the within-entitled action. I am an employee
                                 of DAVIS WRIGHT TREMAINE LLP, and my business address is 505 Montgomery Street, Suite
                             4   800, San Francisco, California 94111-6533.
                             5          I caused to be served a copy of the following document:
                             6                  [PROPOSED] ORDER RE MOTION TO QUASH SUBPOENA ISSUED
                             7                  FROM A CIVIL CASE PENDING BEFORE THE UNITED STATES
                                                DISTRICT COURT FOR THE DISTRICT OF ARIZONA AND SERVED ON
                             8                  NON-PARTY JOURNALIST WILLIAM MEAGHER

                             9          I caused the above document to be served on each of the persons listed below by the
                                 following means:
                            10
DAVIS WRIGHT TREMAINE LLP




                                 Joseph G. Adams, Esq.                              Charles Harder, Esq.
                            11   Carlie Shae Tovrea, Esq.                           Dilan Esper, Esq.
                                 Snell & Wilmer LLP - Phoenix, AZ                   Ryan J Stonerock, Esq.
                            12   1 Arizona Center                                   Harder Mirell & Abrams LLP
                                 400 E Van Buren                                    132 S Rodeo Drive, 4th Floor
                            13   Phoenix, AZ 85004-2202                             Beverly Hills, CA 90212
                                 Tel: 602-382-6393                                  Tel: 424-203-1600
                            14   Fax: 602-382-6070                                  Fax: 424-203-1601
                                 Email: ctovrea@swlaw.com                           Email: charder@hmafirm.com
                            15   Counsel for Plaintiffs                             Counsel for Plaintiffs
                            16   George Ian Brandon , Sr.                           Donald A Wall, Esq.
                                 Gregory Alan Davis                                 Squire Sanders & Dempsey LLP
                            17   Gregory Sumner Schneider                           2 Renaissance Square
                                 Squire Patton Boggs (US) LLP - Phoenix, AZ         40 N Central Avenue, Suite 2700
                            18   1 E Washington Street, Suite 2700                  Phoenix, AZ 85004-4441
                                 Phoenix, AZ 85004                                  Tel: 602-528-4000
                            19   Tel: 602-528-4000                                  Fax: 602-253-8129
                                 Fax: 602-253-8129                                  Email: dwall@ssd.com
                            20   Email: gregory.schneider@squirepb.com              Counsel for Defendants
                                 Counsel for Defendants
                            21

                            22    ☑       I enclosed a true and correct copy of said document in an envelope and placed it for
                                          collection and mailing with the United States Post Office on March 1, 2017, following
                            23            the ordinary business practice.

                            24    ☑       A true and correct copy of said document was sent via electronic mailed on
                                          March 1, 2017
                            25
                                        I am readily familiar with my firm’s practice for collection and processing of
                            26   correspondence for delivery in the manner indicated above, to wit, that correspondence will be
                                 deposited for collection in the above-described manner this same day in the ordinary course of
                            27
                                 business.
                            28

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                                     Case 3:17-mc-80026-LB Document 6 Filed 03/01/17 Page 3 of 3

                                        I declare under penalty of perjury under the laws of the State of California that the
                             1   foregoing is true and correct.
                             2
                                       Executed on March 1, 2017, at San Francisco, California.
                             3

                             4                                                              Aysha D. Lewis
                             5

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DAVIS WRIGHT TREMAINE LLP




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                                 PROOF OF SERVICE
                                 CASE NO. 3:17-MC-80026-LB
